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                                    MINUTES



 CASE NUMBER:              1:22-MJ-01259-RT
 CASE NAME:                United States of America v. (1) Walter Glenn Primrose
                                                      (2) Gwynn Darle Morrison
 ATTYS FOR PLA:            Thomas Muehleck
 ATTYS FOR DEFT:           (1) Maximilian Mizono* for Salina Kanai
                           (2) Megan Kau*
 U.S. Probation Officer:   Diane Arima-Linscott
                           Erin Patrick


      JUDGE:      Rom Trader                   REPORTER:        FTR - Courtroom 5

      DATE:       07/25/2022                   TIME:            10:55 - 11:01 a.m.


COURT ACTION: EP: INITIAL APPEARANCE as to DEFENDANT (1) WALTER
GLENN PRIMROSE and DEFENDANT (2) GWYNN DARLE MORRISON held.

Defendant (1) Walter Glenn Primrose and Defendant (2) Gwynn Darle Morrison present
and in custody.

Appointment of Counsel:

Defendants sworn to Financial Affidavits. Court appoints the Office of the Federal
Public Defender as to Defendant (1) Walter Glenn Primrose. Court appoints Megan Kau
as to Defendant (2) Gwynn Darle Morrison.

Initial Appearance:

Mr. Mizono represents having reviewed the charges with Defendant (1) Walter Glenn
Primrose. Defendant (1) Walter Glenn Primrose acknowledges general understanding of
the charges.

Ms. Kau represents having reviewed the charges with Defendant (2) Gwynn Darle
Morrison. Defendant (2) Gwynn Darle Morrison acknowledges general understanding of
the charges.

Detention Hearing scheduled before Magistrate Judge Trader:
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Government has filed ECF [10] Motion to Detain Defendants Without Bail (“Motion”)
and submits photographs in support of Motion. Government’s submission of photographs
RECEIVED.

Telephonic Detention Hearing is set for July 28, 2022 at 9:30 a.m. before Magistrate
Judge Rom Trader.

Preliminary Hearing scheduled before Magistrate Judge Porter:

Telephonic Preliminary Hearing is set for August 8, 2022 at 9:30 a.m. before
Magistrate Judge Wes Reber Porter.

Pursuant to the United States District Court for the District of Hawaii's current Order
Authorizing the Use of Telephonic and Video Hearings Pursuant to the CARES Act, the
Detention Hearing and Preliminary Hearing will be held telephonically. Parties must
connect to the conference at least five (5) minutes prior to the scheduled start time of the
hearing.

Call-in information for the 7/28/2022 Detention Hearing before Magistrate Judge Trader
is below.

Dial in number:      1-833-568-8864 (toll-free).
Meeting ID:          161 5641 6035.

Call in information for the 8/8/2022 Preliminary Hearing before Magistrate Judge
Porter is below.

Dial in number:      1-833-568-8864 (toll-free).
Meeting ID:          161 0084 2470.

Due Process Protection Act Advisory:

The Court orders the United States to comply with its disclosure obligations under Brady
v. Maryland and its progeny. Failing to timely do so may result in consequences such as
sanctions, adverse jury instructions, exclusion of evidence, and dismissal of charges. This
order incorporates the provisions of the Court's February 1, 2021 General Order
Regarding Rule 5(f).

Defendant (1) Walter Glenn Primrose and Defendant (2) Gwynn Darle Morrison
remanded to the custody of the U.S. Marshals Service.

Submitted by: Lian Abernathy, Courtroom Manager
